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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA



  UNITED STATES OF AMERICA        *            12 CR 001
                                  *
  versus                          *            Section F
                                  *
  TELLY HANKTON, WALTER PORTER,   *            June 8, 2016
  ANDRE HANKTON, KEVIN JACKSON    *
                                  *
  * * * * * * * * * * * * * * * * *


                       TESTIMONY OF DERYL NICHOLAS
                      IN THE JURY TRIAL BEFORE THE
                      HONORABLE MARTIN L.C. FELDMAN
                      UNITED STATES DISTRICT JUDGE

  Appearances:

  For the United States:            U.S. Attorney's Office
                                    BY: ELIZABETH A. PRIVITERA, ESQ.
                                         WILLIAM J. QUINLAN JR., ESQ.
                                         DAVID E. HALLER, ESQ.
                                         BRITTANY L. REED, ESQ.
                                    650 Poydras Street, Suite 1600
                                    New Orleans, Louisiana 70130

  For Telly Hankton:                Loyola Law School Clinic
                                    BY: D. MAJEEDA SNEAD, ESQ.
                                    7214 St. Charles Avenue
                                    New Orleans, Louisiana 70118

  For Telly Hankton:                EMILY F. RATNER, ESQ.
                                    316 South Dorgenois Street
                                    New Orleans, Louisiana 70119
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                                                                        2




  Appearances:

  For Walter Porter:                Law Offices of Robert S. Toale
                                    BY: ROBERT S. TOALE, ESQ.
                                    505 Weyer Street
                                    Gretna, Louisiana 70053

  For Walter Porter:                STEVEN LEMOINE, ESQ.
                                    4240 Canal Street
                                    New Orleans, Louisiana 70119

  For Andre Hankton:                Spears & Spears
                                    BY: IKE SPEARS, ESQ.
                                    1631 Elysian Fields Avenue
                                    New Orleans, Louisiana 70117

  For Kevin Jackson:                Smith & Fawer, LLC
                                    BY: MICHAEL S. FAWER, ESQ.
                                    312 30th Street
                                    New Orleans, Louisiana 70124

  Official Court Reporter:          Toni Doyle Tusa, CCR, FCRR
                                    500 Poydras Street, Room B 275
                                    New Orleans, Louisiana 70130
                                    (504) 589 7778




  Proceedings recorded by mechanical stenography using
  computer aided transcription software.
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        Direct Examination By Ms. Privitera                     4
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1                                       EXCERPT
2                                   (June 8, 2016)
3                                   DERYL NICHOLAS,
4      having been duly sworn, testified as follows:
5                   THE DEPUTY CLERK:    State your full name and correct
6      spelling for the record, please.
7                   THE WITNESS:    Deryl Nicholas, D E R Y L,
8      N I C H O L A S.
9                                  DIRECT EXAMINATION
10     BY MS. PRIVITERA:
11     Q.    Good afternoon, Ms. Nicholas.        Can you introduce yourself
12     to the ladies and gentlemen of the jury and let them know where
13     you are from.
14     A.    My name is Deryl Nicholas.      I'm from New Orleans,
15     Louisiana.
16     Q.    Have you lived in New Orleans your whole life?
17     A.    Yes.
18     Q.    I would like to take you back to the time frame of the
19     year 2000.    Were you living in New Orleans then?
20     A.    Yes.
21     Q.    During that time frame were you involved in a relationship
22     with a Frank Hankton?
23     A.    Yes.
24     Q.    How long were you in a relationship with Mr. Hankton for?
25     A.    Probably about eight years.
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02:34   1      Q.    Approximately when did it start?
        2      A.    I really can't remember.
        3      Q.    In the year 2000, had you been in a relationship with him
        4      for eight years?
        5      A.    Yes, probably before        a little before that.     It was
        6      before then.
        7      Q.    Not to get all up in your business, but was Mr. Hankton
        8      also married at that time?
        9      A.    Yes.
        10     Q.    But not to you?
        11     A.    No.
        12     Q.    Where were you living during that time frame, in May of
        13     2000 specifically?
        14     A.    I think on Freret Street.
        15     Q.    Would that be 4211 Freret Street?
        16     A.    Yes.
        17     Q.    Did you share a place with Frank Hankton then?
        18     A.    Yes.
        19     Q.    Did he also live with his wife part time?
        20     A.    Yes.
        21     Q.    Where did they live?
        22     A.    On Liberty.
        23     Q.    How far away was that, approximately, from you?
        24     A.    Probably about 10 blocks.
        25     Q.    Now, since you were in a fairly long term relationship
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02:35   1      with Frank Hankton, were you familiar with any of his family
        2      members?
        3      A.    I knew some of them.
        4      Q.    Who did you know?
        5      A.    I was friends with Leslie.
        6      Q.    What is her relationship to Frank Hankton?
        7      A.    Sister.
        8      Q.    Who else?
        9      A.    I really knew some of them         I didn't know them
        10     personally.     I just knew them by their names, some of them, and
        11     just seeing them around.
        12     Q.    Would you ever visit some of his family members on
        13     Josephine Street?
        14     A.    The only person, Leslie.
        15     Q.    Did she live on Josephine Street?
        16     A.    Yes.
        17     Q.    Are you aware if he had any other family members who lived
        18     on Josephine Street?
        19     A.    Yes.
        20     Q.    Who would they be?
        21     A.    I knew he had a couple aunties stay around there, but I
        22     didn't go to her house.
        23     Q.    Did he have another sister by the name of Shirley?
        24     A.    Yes.
        25     Q.    Do you know where she lived?
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02:36   1      A.    I think St. Andrew.
        2      Q.    Is that around the corner from Josephine?
        3      A.    Yes.
        4      Q.    Now, because of your relationship with Frank Hankton, in a
        5      sense being the other woman, did the family members welcome you
        6      into the family?
        7      A.    Not all of them.
        8      Q.    But Ms. Leslie did?
        9      A.    Leslie did.    I didn't have no problem with Shirley.
        10     Q.    Were you familiar with Frank Hankton's nephew, Telly
        11     Hankton?
        12     A.    I knew him, but I didn't know him personally.
        13     Q.    So did you know he was Frank Hankton's nephew?
        14     A.    Yes.
        15     Q.    Had you met him before?
        16     A.    Yes.
        17     Q.    Where did you meet him?
        18     A.    On Josephine when I seen him.
        19     Q.    So were you familiar with what he looked like?
        20     A.    Yes.
        21     Q.    Was there a point in time when Telly Hankton, along with
        22     somebody else, showed up at your house?
        23     A.    Yes.
        24     Q.    Can you tell the ladies and gentlemen what happened on
        25     that night.
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02:37   1      A.    One night the doorbell ring and I answered the door.            I
        2      asked who is it, and he told me who he was.         I opened up the
        3      door and let them in.
        4      Q.    What time of night was this?
        5      A.    I think it was around 12:00 or after 12:00.
        6      Q.    Can you speak a little closer or move the microphone a
        7      little closer to you.
        8      A.    It was about 12:00 or after 12:00.
        9      Q.    So late at night?
        10     A.    Yes.
        11     Q.    Had Telly Hankton been to your house before?
        12     A.    Just once, when he came to see Frank, when he came out the
        13     hospital, came visited him.
        14     Q.    You say Frank came out of the hospital.        What had
        15     happened
        16     A.    From having surgery, I think, from ulcers.
        17     Q.    So one time Telly had been to your place before?
        18     A.    Yes.
        19     Q.    So when he came that evening, was he with anybody?
        20     A.    What you mean?     When he came visit Frank?
        21     Q.    I'm sorry, not to visit Frank.       I apologize.    When he came
        22     late at night to your house and rang the doorbell.
        23     A.    No.    Him and a friend was together.
        24     Q.    He was with a friend.      Do you know who the friend was?
        25     A.    Shaw Dog.
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02:38   1      Q.    Shaw Dog was his nickname?
        2      A.    Uh huh.
        3      Q.    Were you familiar with who he was?
        4      A.    I just knew him from around there.       I didn't know him
        5      personally.
        6      Q.    Did you know him as Shaw Dog?
        7      A.    From what they called him, yeah.       That's the name I knew
        8      him by.
        9      Q.    When they both came to your house, you had known what
        10     their names were and you had seen them before?
        11     A.    Yes.
        12     Q.    So what happened when they came into your house?
        13     A.    They rung the doorbell.      I asked who is it.     He told me
        14     who he was.     I opened up the door and let him in and shut the
        15     door behind him.     When they came in, he just pulled a gun on me
        16     and asked me where was his stuff.
        17                  THE COURT:   Asked you what?
        18                  THE WITNESS:   Where was his stuff?
        19     BY MS. PRIVITERA:
        20     Q.    What did he literally say to you?
        21     A.    I think that's what he said, where was his stuff.          I said,
        22     "What stuff?     I don't have nothing in here.      You can search my
        23     house if you want and look around.        Ain't nothing in here."      I
        24     just started crying.      My children heard me crying, and they
        25     came to the top of the stairs and just started crying.
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02:39   1       Q.    So if I can just stop you for a second, was this an
        2       apartment?
        3       A.    Yes.
        4       Q.    Was there an upstairs and a downstairs?
        5       A.    In my house, yes.
        6       Q.    So when you answered the door, is the door upstairs or
        7       downstairs?
        8       A.    I came downstairs.
        9       Q.    So the bedrooms where your children were sleeping were
        10      where?
        11      A.    Upstairs.
        12      Q.    When Telly and Shaw Dog came into your house, did they
        13      both have guns?
        14      A.    I just      Telly just had one.
        15      Q.    What did he do when he walked in your house with that gun?
        16      A.    First he just walked in after we shut the door, and he
        17      just asked me that.     Then he upped the gun.
        18      Q.    He "upped the gun."     What does that mean?
        19      A.    He just pointed the gun at me and asked me where was his
        20      stuff.
        21      Q.    Did you have any idea what he was talking about?
        22      A.    No.
        23      Q.    Did he specify what he was asking for or looking for?
        24      A.    No.
        25      Q.    Did he ever ask you, like, where are his drugs?
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02:40   1       A.    No.
        2                    MS. SNEAD:   Objection, Your Honor, asked and
        3       answered.
        4                    THE COURT:   Overruled.
        5       BY MS. PRIVITERA:
        6       Q.    I'm sorry, what was the answer?
        7       A.    No.
        8       Q.    Did he ever ask you like where was the money?
        9       A.    No.
        10      Q.    What was your response to him?
        11      A.    I say, "I don't have nothing in here."        I say, "You can
        12      look around, if you want, up in here.        It's not big in here for
        13      you to search."    I said, "You never came to my house before to
        14      get nothing from Frank or nothing."
        15      Q.    Did you know this to be connected to Frank?
        16      A.    No, not at the time.     I didn't know nothing had happened.
        17      Q.    What was Shaw Dog doing in the house while Telly was
        18      holding a gun to you?
        19      A.    Just standing up there.
        20      Q.    How did this end?
        21      A.    He left.
        22      Q.    Were your kids woken up?
        23      A.    Yes.
        24      Q.    What did they do?
        25      A.    Nothing, just was standing up there crying.
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02:41   1       Q.    Were you crying?
        2       A.    Yes.
        3       Q.    When he left, what did you do?
        4       A.    Locked the door back and then I called Frank up.
        5       Q.    What did you say to Frank?
        6       A.    That your nephew had just left my house pulling a gun on
        7       me.
        8       Q.    What did he have to say to you about that?
        9       A.    He just told me lock the door and don't open it back up.
        10      Q.    Did you call the police that night?
        11      A.    No.
        12      Q.    Why not?
        13      A.    I don't know.
        14      Q.    Had Frank ever stored any drugs or money at your house?
        15      A.    No.
        16      Q.    What happened the next morning when you got up?
        17      A.    The next day when I got up, my children was going to
        18      school, so I said I was going to stay around by my sister,
        19      since I was in the house by myself; and I got dressed and I
        20      walked around.    On my way going by my sister's house, I was
        21      standing outside my house and he happened to pass.
        22      Q.    When you say "he," who?
        23      A.    Telly.   He stopped and he got out the car and came across
        24      the street, and he just told me that he wanted his stuff.             I
        25      say, "I told you ain't nothing at my house," and he went got
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02:42   1       back in his car and pulled off.
        2       Q.    What did you do after that?
        3       A.    I walked around by my sister's house.
        4       Q.    When you went to your sister's house
        5       A.    I went by my neighbor's house to use the phone, and I
        6       called Frank up again and told him.       He just said that he was
        7       going to pass around, but I'm not sure if he came or not.             I
        8       just sit by my sister's house that day until I got ready to go
        9       home.
        10      Q.    Was there at some point when you called the police?
        11      A.    Yes.
        12      Q.    When did you call the police?
        13      A.    I think the third time.
        14                   THE COURT:   The third time?
        15                   THE WITNESS:   Yes.
        16      BY MS. PRIVITERA:
        17      Q.    When you say "the third time," what do you mean by that?
        18      A.    When I was on the avenue, he just passed and he just
        19      pointed his finger at me.      So I said I'm going       I went back
        20      home.   That's when I called the policeman.
        21      Q.    I'm sorry, you were where?
        22      A.    On Washington Avenue.
        23      Q.    What were you doing on Washington Avenue?
        24      A.    Going to a bar.
        25      Q.    Were you walking or driving?
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02:43   1       A.    Walking.
        2       Q.    So when you were walking down Washington Avenue, what
        3       happened?
        4       A.    He passed in a car and pointed his finger at me like that
        5       (indicating).    I didn't go to the bar.      I turned back around
        6       and went by my sister's house.
        7       Q.    When you say "he" passed by you, who are you referring to?
        8       A.    Telly.
        9       Q.    He did what?    He made what kind of gesture to you?
        10      A.    He pointed his finger at me.
        11      Q.    So after that incident you went and called the police?
        12      A.    Yeah, then I called the police.
        13      Q.    Did the police come to your house?
        14      A.    Yes.
        15      Q.    Did they take a statement from you?
        16      A.    Yes.
        17      Q.    At some point are you aware if Telly Hankton was arrested
        18      for that incident?
        19      A.    Yes.
        20      Q.    Did the police have you identify him?
        21      A.    Yes.
        22      Q.    Did he see you make an identification of him?
        23      A.    I think so.
        24      Q.    During this time frame, did you have an opportunity to get
        25      any information from Frank Hankton about what in the world was
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02:44   1       going on?
        2       A.    Not really, no.
        3       Q.    Did you ever learn at some point that Frank Hankton's
        4       house had been broken into?
        5       A.    I didn't know that until, I think, about the third day or
        6       the second day.     I'm not exactly sure.
        7       Q.    What did you learn?
        8       A.    Nothing.    That he just said somebody had broke in his
        9       house and stole jewelry and stuff.
        10      Q.    That was all around this same time?
        11      A.    Yes.
        12      Q.    After Telly Hankton was arrested for this, did you ever
        13      reach out to another family member?
        14      A.    Yes.
        15      Q.    Who did you reach out to?
        16      A.    I told Frank to ask Shirley can I talk to her.
        17      Q.    Why did you want to speak to Telly's mother?
        18      A.    Because, like I say, I'm a parent myself, and I wanted to
        19      talk to her.     I think she could have talked to her son.
        20      Q.    Talked to her son to do what?
        21      A.    To stop bothering me.
        22      Q.    Are you aware whether she did that?
        23      A.    I know when I had the conversation with her, she told me
        24      not to worry, nothing wasn't going to happen to me, and I
        25      believed her.
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02:45   1       Q.    Did anything ever happen to you after that?
        2       A.    After that, no, I didn't have no more problem.
        3       Q.    Did you ultimately drop the charges against Telly Hankton?
        4       A.    Yes, I did.
        5       Q.    Did Frank Hankton have a daughter that was killed at some
        6       point after that?
        7       A.    Yes.
        8                    MS. PRIVITERA:   I think those are all the questions I
        9       have, Ms. Nicholas.
        10                   THE COURT:    Thank you.
        11                       Cross examine.
        12                   MS. SNEAD:       no questions, Your Honor.
        13                   THE COURT:    Anyone?
        14                   MR. SPEARS:    No questions, Your Honor.
        15                   MR. LEMOINE:   Nothing.
        16                   THE COURT:    Is this witness excused?
        17                   MS. PRIVITERA:   Yes.
        18                   MR. SPEARS:    Yes, Your Honor.
        19                   THE COURT:    Thank you very much for being here.
        20                       Call your next witness.
        21                   MS. REED:    We call Sherman Mushak.
        22                                       * * *
        23
        24
        25
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1                                     CERTIFICATE
2                  I, Toni Doyle Tusa, CCR, FCRR, Official Court
3       Reporter for the United States District Court, Eastern District
4       of Louisiana, certify that the foregoing is a true and correct
5       transcript, to the best of my ability and understanding, from
6       the record of proceedings in the above entitled matter.
7
8
9                                              s/ Toni Doyle Tusa
                                               Toni Doyle Tusa, CCR, FCRR
10                                             Official Court Reporter
11
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25
                                       ain't [2] 9/23 12/25                     can [7] 4/11 7/24 8/6 9/22 10/1 11/11
    Case 2:12-cr-00001-MLCF-MBN
                             all [4] Document      1669 Filed 09/09/16
                                     5/7 7/7 15/10 16/8          15/16 Page 18 of 21
BY MS. PRIVITERA: [4] 4/9 9/18 11/4
                                       along [1] 7/21                           can't [1] 5/2
13/15
                                       also [2] 5/8 5/19                        Canal [1] 2/6
MR. LEMOINE: [1] 16/14
                                       AMERICA [1] 1/4                          car [3] 12/23 13/1 14/4
MR. SPEARS: [2] 16/13 16/17
                                       ANDRE [2] 1/7 2/8                        CCR [3] 2/14 17/2 17/9
MS. PRIVITERA: [2] 16/7 16/16
                                       Andrew [1] 7/1                           CERTIFICATE [1] 17/1
MS. REED: [1] 16/20
                                       another [2] 6/23 15/13                   certify [1] 17/4
MS. SNEAD: [2] 11/1 16/11
                                       answer [1] 11/6                          charges [1] 16/3
THE COURT: [7] 9/16 11/3 13/13 16/9
                                       answered [3] 8/1 10/6 11/3               Charles [1] 1/20
16/12 16/15 16/18
                                       any [5] 6/1 6/17 10/21 12/14 14/25       children [3] 9/24 10/9 12/17
THE DEPUTY CLERK: [1] 4/4
                                       anybody [1] 8/19                         Clinic [1] 1/19
THE WITNESS: [3] 4/6 9/17 13/14
                                       Anyone [1] 16/13                         closer [2] 8/6 8/7
0                                      anything [1] 16/1                        come [1] 14/13
001 [1] 1/4                            apartment [1] 10/2                       computer [1] 2/20
                                       apologize [1] 8/21                       computer-aided [1] 2/20
1                                      Appearances [2] 1/13 2/1                 connected [1] 11/15
10 blocks [1] 5/24                     approximately [2] 5/1 5/23               conversation [1] 15/23
12-CR-001 [1] 1/4                      are [7] 4/13 6/17 10/25 14/7 14/17       corner [1] 7/2
12:00 [2] 8/5 8/8                       15/22 16/8                              correct [2] 4/5 17/4
12:00 or [2] 8/5 8/8                   around [13] 6/11 6/21 7/2 8/5 9/4 9/23   could [1] 15/19
1600 [1] 1/17                           11/12 12/18 12/20 13/3 13/7 14/5        couple [1] 6/21
1631 [1] 2/9                            15/10                                   COURT [5] 1/1 2/14 17/2 17/3 17/10
                                       arrested [2] 14/17 15/12                 CR [1] 1/4
2                                      as [2] 4/4 9/6                           Cross [1] 16/11
2000 [3] 4/19 5/3 5/13                 ask [3] 10/25 11/8 15/16                 Cross-examine [1] 16/11
2016 [2] 1/6 4/2                       asked [7] 8/2 9/13 9/16 9/17 10/17       crying [5] 9/24 9/24 9/25 11/25 12/1
275 [1] 2/14                            10/19 11/2
                                       asking [1] 10/23                         D
3                                      at [15] 5/8 7/22 8/9 8/22 10/19 11/16     D-E-R-Y-L [1] 4/7
30th [1] 2/12                           12/14 12/25 13/10 13/19 14/4 14/10       daughter [1] 16/5
312 [1] 2/12                            14/17 15/3 16/5                          DAVID [1] 1/16
316 [1] 1/22                           Attorney's [1] 1/14                       day [4] 12/17 13/8 15/5 15/6
                                       aunties [1] 6/21                          DERYL [4] 1/10 4/3 4/7 4/14
4                                      avenue [6] 1/20 2/9 13/18 13/22 13/23     did [45]
4211 Freret [1] 5/15                    14/2                                     didn't [9] 6/9 6/22 7/9 7/12 9/4 11/16
4240 [1] 2/6                           aware [3] 6/17 14/17 15/22                 14/5 15/5 16/2
                                       away [1] 5/23                             DIRECT [1] 4/9
5                                                                                DISTRICT [5] 1/1 1/2 1/11 17/3 17/3
500 [1] 2/14
                                         B                                       do [8] 6/25 8/24 10/15 11/24 12/3 13/2
504 [1] 2/15                             B-275   [1]  2/14                        13/17 15/20
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